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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

   IN RE:                                    )
                                             )          Case No. 3:19-bk-30822
   TAGNETICS INC.,                           )
                                             )          Chapter 7 (Involuntary)
                       Alleged Debtor.       )
                                             )          JUDGE GUY R. HUMPHREY


  AMENDED MOTION OF McCARTHY, LEBIT, CRYSTAL & LIFFMAN, CO. L.P.A.,
               FOR LEAVE TO WITHDRAW AS COUNSEL

        Pursuant to Rule 1.16 of the Ohio Rules of Professional Conduct and LBR 2091-1(a)(2),

 the law firm of McCarthy, Lebit, Crystal & Liffman, Co. L.P.A. and Robert R. Kracht, Esq;

 (collectively “MLCL”) respectfully move this Court for leave to withdraw from further

 representation of Tagnetics Inc., the Alleged Debtor (“Tagnetics”). In support of the Motion

 MLCL represents:

        1.      There have arisen and continue to exist irreconcilable differences between MLCL

 and Tagnetics that have prevented MLCL from being able to continue to represent Tagnetics in

 this matter. MLCL cannot go into particulars regarding the irreconcilable differences that

 currently exist due to the attorney-client privilege. MLCL is amenable to a telephonic in camera

 conference with the Court should the court wish to do so.

        2.      Tagnetics is currently represented by attorneys from three law firms with Attorney

 Stephen Stern and his firm, Kagan Stern Marinello & Beard, LLC, acting as lead counsel with the

 assistance of Douglas Draper and Leslie Collins of the firm of Heller, Draper, Patrick, Horn &

 Manthey, L.L.C. This Court previously granted Attorney Stern’s, Attorney Draper’s, and Attorney

 Collins’s motions to appear pro hac vice.




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           3.    Permitting MLCL to withdraw at this time will not affect the matters pending before

 the court in that the telephonic hearing scheduled by the court for January 28, 2020 regarding (a)

 Tagnetics Application for Payment of Fees and Expenses, and (b) the remaining petitioning

 creditors Motion for Contempt, are matters that were intended to and would be addressed by

 Tagnetics lead counsel, Stephen Stern during the January 28th hearing.

           4.    MLCL has communicated its intent to file this Motion to Tagnetics through its

 principal, Mr. John White, and Tagnetics lead counsel, Mr. Stern who, along with Douglas Draper

 and Leslie Collins, co-counsel, will be served with a copy of this Motion by email immediately

 after its filing and by overnight express mail as referenced in the certificate of service below.

           5.    Accordingly, good cause exists under the Rules of Professional Conduct and LBR

 2019-1(a)(2) for the granting of this Motion.

           WHEREFORE, McCarthy, Lebit, Crystal & Liffman, Co. L.P.A. and Robert R. Kracht,

 Esq., for good cause shown, request that the within Motion be granted for the reasons set forth

 herein.

 Dated: January 22, 2020                               Respectfully submitted,

                                                       /s/ Robert R. Kracht
                                                       Robert R. Kracht (0025574)
                                                       MCCARTHY, LEBIT, CRYSTAL
                                                         & LIFFMAN CO., LPA
                                                       101 West Prospect Avenue, Suite 1800
                                                       Cleveland, Ohio 44115
                                                       (216) 696-1422 – Telephone
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                                CERTIFICATE OF SERVICE
          I hereby certify that on January 22, 2020, a copy of the foregoing Motion for Leave to
 Withdraw as Counsel was served (i) electronically on the date of filing through the Court’s ECF
 System on all ECF participants registered in this case with the court and (ii) electronically by
 email on counsel for Tagnetics, Inc., Stephen Stern, Esq. (Stern@kaganstern.com), Douglas
 Draper, Esq. (ddraper@hellerdraper.com) and Leslie Collins, Esq. (lcollins@hellerdraper.com),
 and (iii) by ordinary U.S. Mail on January 22, 2020 addressed to:

 Kenneth W Kayser                                                    Tagnetics, Inc.
 PO Box 115                                                         3415 Route 36
 Catawba, VA 24070                                                  Piqua, OH 45356

 Ronald E. Early
 6429 Winding Tree Dr
 New Carlisle, OH 45344

 Jonathan Hager
 2170 River Oaks Drive
 Salem, VA 24153

 Jeremy Shane Flannery
 Office of the US Trustee
 170 North High Street
 Suite 200
 Columbus, OH 43215-2417

                                                     /s/ Robert R. Kracht
                                                     Robert R. Kracht (#0025574)




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